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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )      NO. 4:20-CR-00232 CDP
               v.                              )
                                               )
DOMINICK ANDERSON,                             )
                                               )
                       Defendant.              )
                                               )


                                GUILTY-PLEA AGREEMENT

       Come now the parties and hereby agree, as follows:

1.     PARTIES:

       The parties are the defendant Dominick Anderson, represented by defense counsel Kayla

Williams, and the United States of America (hereinafter "United States" or "Government"),

represented by the Office of the United States Attorney for the Eastern District of Missouri.   This

agreement does not, and is not intended to, bind any governmental office or agency other than the

United States Attorney for the Eastern District of Missouri.     The Court is neither a party to nor

bound by this agreement.

2.     GUILTY PLEA:

       A.      The Plea:            Pursuant to Rule 11(c)(1)(A), of the Federal Rules of Criminal

Procedure, in exchange for the Defendant's voluntary plea of guilty to Armed Robbery as charged

in Count One of the Indictment and the lesser included offense of Possessing and Brandishing a

Firearm in Furtherance of a Crime of Violence as charged in Count Two of the Indictment, the


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United States agrees that no further federal prosecution will be brought in this District relative to

Defendant's violations of federal law, known to the United States at this time, arising out of the

events set forth in the Indictment.

       B.      The Sentence:          The parties agree that the recommendations contained herein

fairly and accurately set forth some guidelines that may be applicable to this case. The parties

further agree that either party may request a sentence above or below the U.S. Sentencing

Guidelines range (combination of Total Offense Level and Criminal History Category) ultimately

determined by the Court pursuant to any chapter of the Guidelines, Title 18, United States Code,

Section 3553, or any other provision or rule of law not addressed herein. The parties further agree

that notice of any such request will be given no later than ten (10) days prior to sentencing and that

said notice shall specify the legal and factual bases for the request.        The Defendant fully

understands, however, that the crime to which a guilty plea is being entered into with respect

to Count Two requires a mandatory minimum term of imprisonment of seven years (84

months) consecutive to any sentence imposed with respect to Count One and to any other

sentence imposed. The parties understand that the Court is neither a party to nor bound by the

Guidelines recommendations agreed to in this document.

3.     ELEMENTS:

       A.      Count One: As to Count One, the Defendant admits to violating Title 18, United

States Code, Section 1951(a), and admits that there is a factual basis for the plea and further fully

understands that the elements of the crime are:

               (i)     The Defendant knowingly robbed R.B., an individual engaged in drug

                       trafficking, an activity affecting interstate or foreign commerce;


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               (ii)    The robbery involved methamphetamine;

               (iii)   The methamphetamine was in the possession of R.B.; and

               (iv)    The Defendant’s actions affected commerce in some way or degree.

       B.      Count Two: As to Count Two, the Defendant admits to knowingly violating Title

18, United States Code, Section 924(c)(1)(A), and admits there is a factual basis for the plea and

further fully understands that the elements of the crime are as follows:

               (i)     The Defendant committed the crime of armed robbery as set forth in Count

                       One of the Indictment; and,

               (ii)    The Defendant knowingly possessed and brandished a firearm in

                       furtherance of that crime.

4.     FACTS:

       The parties agree that the facts in this case are as follows and that the United States would

prove these facts beyond a reasonable doubt if the case were to go to trial.     These facts may be

considered as relevant conduct pursuant to Section 1B1.3:

       R.B. sold methamphetamine to make money, thereby engaging in interstate commerce.

R.B. previously sold methamphetamine to the Defendant and M.R.             On August 25, 2019, M.R.

contacted R.B. to purchase methamphetamine from R.B.          M.R. agreed to pick up R.B. from a

hospital, where he was visiting an individual, and drive to R.B.’s residence to purchase the

methamphetamine.       R.B. resided at 8214 Michigan Avenue, Saint Louis, Missouri, within the

Eastern District of Missouri.

       Later in the day on August 25, 2019, M.R. picked R.B. up, as planned.              M.R. was

accompanied by the Defendant and a third individual.        M.R. drove to R.B.’s home, however,


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when they arrived, M.R. stated that she and the Defendant did not have enough money to purchase

the methamphetamine and would return with money.           R.B. went inside his residence and the

Defendant, M.R., and the third individual left.

        Shortly before 8:00pm on August 25, 2019, R.B. walked to a gas station.        While at the

gas station, he observed the Defendant, M.R., and the third individual at the gas station, getting

gas for M.R.’s vehicle.   M.R., accompanied by the Defendant and the third individual, drove R.B.

back to his residence at 8214 Michigan Avenue, to complete the previously agreed upon

methamphetamine transaction.       M.R. stayed in her vehicle and the Defendant and the third

individual went into R.B.’s home.     Inside the residence R.B. showed the methamphetamine to

the Defendant, at which time the Defendant displayed a handgun and demanded R.B. give him the

methamphetamine. R.B. refused and told the Defendant to leave the residence.         The Defendant

fired the handgun at R.B., shooting R.B. in the abdomen.            The Defendant then took the

methamphetamine from R.B.       By firing the handgun, Defendant used actual force to accomplish

the robbery.   Defendant and the other third individual returned to M.R.’s vehicle and fled the

area.   R.B. contacted 911 and was transported to a hospital for medical treatment for his injuries.

        At the time of the robbery, R.B. was engaging in interstate or foreign commerce.        The

Defendant specifically admits that the drug trafficking of methamphetamine affects interstate and

foreign commerce and that by robbing R.B. of the methamphetamine in which R.B. was

trafficking, the Defendant affected commerce in some way or degree.       Defendant further admits

that the handgun discussed above is a firearm under federal law, in that it can expel a projectile by

the action of an explosive. Defendant also admits that he possessed and brandished the handgun

(a firearm) in furtherance of his robbery of R.B., a crime of violence.


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5.     STATUTORY PENALTIES:

       A.      Statutory Penalties: The Defendant fully understands that the maximum possible

penalties provided by law for the crimes to which the Defendant is pleading guilty are:

               (i)      Count One: The defendant fully understands that the maximum possible

penalty provided by law for the crime to which the defendant is pleading guilty is imprisonment

of not more than twenty years, a fine of not more than $250,000, or both such imprisonment and

fine. The Court shall also impose a period of supervised release of not more than three years.

               (ii)     Count Two: imprisonment of not less than seven years (84 months), but

not more than life, consecutive to any other sentence imposed; a fine of not more than $250,000;

or both such imprisonment and fine. The Court also may impose a period of supervised release

of not more than five years.   The Defendant fully understands that the crime to which a guilty

plea is being entered requires a mandatory minimum term of imprisonment of seven years

(84 months) consecutive to any other sentence imposed.

6.     U.S. SENTENCING GUIDELINES: 2018 MANUAL

       The Defendant understands that this offense is affected by the U.S. Sentencing Guidelines

and the actual sentencing range is determined by both the Total Offense Level and the Criminal

History Category.     The parties agree that the following are the U.S. Sentencing Guidelines Total

Offense Level provisions that apply:

       A.      Offense Conduct:

                                         COUNT ONE
                                       ARMED ROBBERY

               (i)      Chapter 2 Offense Conduct:

                        (a)    Base Offense Level: The parties agree that the Base Offense

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Level is 20 as found in Section 2B3.1(a).

                        (b)     Specific Offense Characteristics:    The parties agree that the

following Specific Offense Characteristics apply: the parties agree that two (2) levels should be

added pursuant to Section 2B3.1(b)(3)(A) because a person suffered bodily injury and one level

should be added pursuant to Section 2B3.1(b)(6) because a controlled substance was taken.

                (ii)    Chapter 3 and 4 Adjustments:

                        (a)     Acceptance of Responsibility: The parties recommend that two

levels should be deducted pursuant to Sentencing Guidelines Section 3E1.1(a) because the

Defendant has clearly demonstrated acceptance of responsibility. If the deduction pursuant to

Sentencing Guidelines Section 3E1.1(a) is applied, and the Defendant is otherwise eligible, then

the United States moves to deduct one additional level pursuant to Sentencing Guidelines Section

3E1.1(b)(2), because the Defendant timely notified authorities of the intention to enter a plea of

guilty, thereby permitting the United States to avoid preparing for trial and permitting the Court to

allocate its resources efficiently.

        The parties agree that if the Defendant does not abide by all of the agreements made within

this document, the Defendant's failure to comply is grounds for the loss of acceptance of

responsibility pursuant to Sentencing Guidelines Section 3E1.1. The parties further agree that the

Defendant's eligibility for a reduction pursuant to Sentencing Guidelines Section 3E1.1 is based

upon the information known at the present time and that any actions of the Defendant which occur

or which become known to the United States subsequent to this agreement and are inconsistent

with the Defendant's acceptance of responsibility including, but not limited to criminal conduct,

are grounds for the loss of acceptance of responsibility pursuant to Sentencing Guidelines Section


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3E1.1. In any event, the parties agree that all of the remaining provisions of this agreement remain

valid and in full force and effect.

                             COUNT TWO
       BRANDISHING A FIREARM IN FURTHERANCE OF ARMED ROBBERY

               (i)     Chapter 2 Offense Conduct:

                       (a)      Base Offense Level: The parties agree that the Base Offense Level

is found in Section 2K2.4(b).    Defendant fully understands that Count Two requires he serve

a mandatory minimum term of imprisonment of 84 months (7 years) to run consecutively to

Count One as well as to any other sentence imposed.

                       (b)      Specific Offense Characteristics:    The parties agree that the

following Specific Offense Characteristics apply: none known at this time.

               (ii)    Chapter 3 and 4 Adjustments:           Pursuant to Section 2K2.4(b) and

Application Note 5, Chapters Three and Four do not apply.           Therefore, as to Count Two,

Defendant is not entitled to an acceptance of responsibility reduction under Section 3E1.1.

       B.      Estimated Total Offense Level: Based on these recommendations, the parties

estimate that the Total Offense Levels are as follows:

               (i)     Count One:      The parties agree that the Total Offense Level for Count One

is 20, unless the Defendant is a Career Offender. Depending on the underlying offense and

defendant’s criminal history, defendant could be a Career Offender pursuant to Section 4B1.1. If

the Court finds defendant is a Career Offender, the Total Offense Level may be higher and the

Criminal History Category may be as high as Category VI. The Defendant has discussed these

possibilities with defense counsel. Both parties reserve the right to argue that the defendant is or

is not a Career Offender.

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               (ii)    Count Two:       The parties agree that with respect to Count Two, the

Defendant will receive a mandatory minimum sentence of seven years (84 months), which will

run consecutively to any other sentence Defendant may receive.       Depending on the underlying

offense and Defendant’s criminal history, Defendant could be a Career Offender pursuant to

Section 4B1.1. If the Court finds Defendant is a Career Offender, the Total Offense Level may

be higher and the Criminal History Category may be as high as Category VI. The Defendant has

discussed these possibilities with defense counsel. Both parties reserve the right to argue that the

defendant is or is not a Career Offender.

       C.      Criminal History:       The determination of the Defendant's Criminal History

Category shall be left to the Court. Either party may challenge, before and at sentencing, the

finding of the Presentence Report as to the Defendant's criminal history and the applicable

category.    The Defendant's criminal history is known to the Defendant and is substantially

available in the Pretrial Services Report.

       D.      Effect of Parties' U.S. Sentencing Guidelines Analysis: The parties agree that the

Court is not bound by the Guidelines analysis agreed to herein.   The parties may not have foreseen

all applicable Guidelines.    The Court may, in its discretion, apply or not apply any Guideline

despite the agreement herein and the parties shall not be permitted to withdraw from the plea

agreement.

7.     WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

       A.      Appeal:       The Defendant has been fully apprised by defense counsel of the

Defendant's rights concerning appeal and fully understands the right to appeal the sentence under

Title 18, United States Code, Section 3742.


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               i.        Non-Sentencing Issues: The parties waive all rights to appeal all non-

jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

motions, discovery and the guilty plea.

               ii.       Sentencing Issues:   In the event the Court accepts the plea and, after

determining a Sentencing Guidelines range, sentences the Defendant within or below that range,

then, as part of this agreement, the Defendant hereby waives all rights to appeal all sentencing

issues other than Criminal History.   Similarly, the United States hereby waives all rights to appeal

all sentencing issues other than Criminal History, provided the Court accepts the plea and

sentences the Defendant within or above the determined Sentencing Guidelines range.

       B.      Habeas Corpus:         The Defendant agrees to waive all rights to contest the

conviction or sentence in any post-conviction proceeding, including one pursuant to Title 28,

United States Code, Section 2255, except for claims of prosecutorial misconduct or ineffective

assistance of counsel.

       C.      Right to Records: The Defendant waives all rights, whether asserted directly or

by a representative, to request from any department or agency of the United States any records

pertaining to the investigation or prosecution of this case, including any records that may be sought

under the Freedom of Information Act, Title 5, United States Code, Section 522, or the Privacy

Act, Title 5, United States Code, Section 552(a).




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8.     OTHER:

       A.      Disclosures Required by the United States Probation Office: The Defendant

agrees to truthfully complete and sign forms as required by the United States Probation Office

prior to sentencing and consents to the release of these forms and any supporting documentation

by the United States Probation Office to the United States.

       B.      Civil or Administrative Actions not Barred; Effect on Other Governmental

Agencies: Nothing contained herein limits the rights and authority of the United States to take

any civil, tax, immigration/deportation or administrative action against the Defendant.

       C.      Supervised Release:        Pursuant to any supervised release term, the Court will

impose standard conditions upon the Defendant and may impose special conditions related to the

crime Defendant committed.        These conditions will be restrictions on the Defendant to which the

Defendant will be required to adhere.     Violation of the conditions of supervised release resulting

in revocation may require the Defendant to serve a term of imprisonment equal to the length of the

term of supervised release, but not greater than the term set forth in Title 18, United States Code,

Section 3583(e)(3), without credit for the time served after release.    The Defendant understands

that parole has been abolished.

       D.      Mandatory Special Assessment: This offense is subject to the provisions of the

Criminal Fines Improvement Act of 1987 and the Court is required to impose a mandatory special

assessment of $100 per count for a total of $200, which the Defendant agrees to pay at the time of

sentencing.   Money paid by the Defendant toward any restitution or fine imposed by the Court

shall be first used to pay any unpaid mandatory special assessment.




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        E.      Possibility of Detention: The Defendant may be subject to immediate detention

pursuant to the provisions of Title 18, United States Code, Section 3143.

        F.      Fines and Costs of Incarceration and Supervision: The Court may impose a

fine, costs of incarceration, and costs of supervision.   The Defendant agrees that any fine imposed

by the Court will be due and payable immediately.

        G.      Forfeiture: The Defendant agrees to forfeit all of the Defendant's interest in all

items seized by law-enforcement officials during the course of their investigation.                 The

Defendant admits that all United States currency, weapons, property, and assets seized by law

enforcement officials during their investigation constitute the proceeds of the defendant's illegal

activity, were commingled with illegal proceeds, or were used to facilitate the illegal activity.

The Defendant agrees to execute any documents and take all steps needed to transfer title or

ownership of said items to the United States and to rebut the claims of nominees and/or alleged

third party owners.    The Defendant further agrees that said items may be disposed of by law

enforcement officials in any manner.

9.      ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:

        In pleading guilty, the Defendant acknowledges, fully understands and hereby waives his

rights, including but not limited to: the right to plead not guilty to the charges; the right to be tried

by a jury in a public and speedy trial; the right to file pretrial motions, including motions to

suppress or exclude evidence; the right at such trial to a presumption of innocence; the right to

require the United States to prove the elements of the offenses charged against the Defendant

beyond a reasonable doubt; the right not to testify; the right not to present any evidence; the right

to be protected from compelled self-incrimination; the right at trial to confront and cross-examine


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adverse witnesses; the right to testify and present evidence and the right to compel the attendance

of witnesses.   The Defendant further understands that by this guilty plea, the Defendant expressly

waives all the rights set forth in this paragraph.

       The Defendant fully understands that the Defendant has the right to be represented by

counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of the

proceeding.     The Defendant's counsel has explained these rights and the consequences of the

waiver of these rights.   The Defendant fully understands that, as a result of the guilty plea, no

trial will, in fact, occur and that the only action remaining to be taken in this case is the imposition

of the sentence.

       The Defendant is fully satisfied with the representation received from defense counsel.

The Defendant has reviewed the United States= evidence and discussed the United States= case and

all possible defenses and defense witnesses with defense counsel.               Defense counsel has

completely and satisfactorily explored all areas which the Defendant has requested relative to the

United States= case and any defenses.

10.    VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

       This document constitutes the entire agreement between the Defendant and the United

States, and no other promises or inducements have been made, directly or indirectly, by any agent

of the United States, including any Department of Justice attorney, concerning any plea to be

entered in this case.   In addition, the Defendant states that no person has, directly or indirectly,

threatened or coerced the Defendant to do or refrain from doing anything in connection with any

aspect of this case, including entering a plea of guilty.




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       The Defendant acknowledges having voluntarily entered into both the plea agreement and

the guilty plea.     The Defendant further acknowledges that this guilty plea is made of the

Defendant's own free will and that the Defendant is, in fact, guilty.

11.    CONSEQUENCES OF POST-PLEA MISCONDUCT:

       After pleading guilty and before sentencing, if the Defendant commits any crime, other

than minor traffic offenses, violates any conditions of release that results in revocation, violates

any term of this guilty-plea agreement, intentionally provides misleading, incomplete or untruthful

information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its

option, may be released from its obligations under this agreement. The United States may also,

in its discretion, proceed with this agreement and may advocate for any sentencing position

supported by the facts, including but not limited to obstruction of justice and denial of acceptance

of responsibility.




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  12.     NO RIGHT TO WITHDRAW GUILTY PLEA:

        Pursuant to Rule 11 (c) and (d), Federal Rules of Criminal Procedure, the Defendant

 understands that there will be no right to withdraw the plea entered under this agreement, except

 where the Court rejects those portions of the plea agreement which deal with charges the United

 States agrees to dismiss or not to bring.


  7/14/21
        Date                                       Jennifer L. Szczucinski
                                                   A_;sistafl: United States Attorney



        Date                                       Dominick Anderson
                                                   Defendant




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